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UNITED sTATEs DISTRICT coURT ""’~'= ' l fwf

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JERRALE MARTIN, "':“" 1 ` L;'_e. east e~:.`

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Plainu'ff )
)

v. ) No. 1=02-1204 Bre-P

)
CORRECTIONS CORPORATION )
0F AMERICA, et al., )
)
Defendants )

 

ORDER

 

Before the Court is a Joint Motion to Extend Motion to Cornpel Deadline. The parties
are in agreement that due to the scheduled Mediation in this matter, additional time Would be
useful to attempt to resolve certain issues that have arisen as to Defendants’ Written discovery,
and, therefore, the Court finds that the Motion is Well taken. Therefore, it is ORDERED that the

deadline to tile a Motion to Compel is extended up to and including June 10, 2005.

nw

JUDGE
DATED.» q/ &Q,/ 13"

IT IS SO ORDERED.

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APPROVED FOR ENTRY:
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JAMES I. PENTECOST wA'*YNE A. RITCHIE, II 195 1331

BRANDON O. GIBSON ROBERT W. RITCHIE ‘

PENTECOST, GLENN & RUDD, PLLC RITCHIE, FELS & DILLARD

106 Stonebridge Blvd. P.O. Box 1126

Jackson, Tennessee 38305 Knoxville, Tennessee 37901-1126

ROBERT J. WALKER W. GASTON FAIREY

MARK TIPPS W. GASTON FAIREY, LLC

JOSEPH WELBORN 1722 Main Street, Suite 300

WALKER, BRYANT, TIPPS & MALONE Columbia, South Carolina 29201
2300 One Nashville Place

l50 Fourth Avenue North COUNSEL FOR PLAINTIFF
Nashville, TN 37219-2424

COUNSEL FOR DEFENDANTS

CERTIFICATE oF samung

I certify that a copy of the foregoing has been served by U.S. mail upon Wayne A.
Ritchie, II and Robert W. Rjtchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126, Knoxville, TN
37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300, Columbia, SC 29201 on
April 14, 2005.

PENTECOST, GLENN & RUDD, PLLC

By: lamm/16 §<%é}f 010

J] ames I. Pentecost (#01 1640)
Brandon O. Gibson (#21485)
Attorneys for Defendants

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
case 1:02-CV-01204 Was distributed by faX, mail, or direct printing on
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Wayne A. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

Knoxville7 TN 37901--112

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

K. Michelle Booth

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Robert .1. Walker

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

Joseph F. Welborn

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

.1. Mark Tipps

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

Honorable .1. Breen
US DISTRICT COURT

